                Case: 12-16373, 06/20/2012, ID: 8221343, DktEntry: 2-1, Page 1 of 2



           UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
                                        Circuit Mediation Office
                               Phone (415) 355-7900 Fax (415) 355-8566
                                http://www.ca9.uscourts.gov/mediation
                               MEDIATION QUESTIONNAIRE
The purpose of this questionnaire is to help the court's mediators provide the best possible mediation
service in this case; it serves no other function. Responses to this questionnaire are not confidential.
Appellants/Petitioners must electronically file this document within 7 days of the docketing of the case.
9th Cir. R. 3-4 and 15-2. Appellees/Respondents may file the questionnaire, but are not required to do so.


 9th Circuit Case Number(s): 112-16373

 District Court/Agency Case Number(s):       lev 12-80113 JW                                                       I
 District Court/Agency Location:             !Northern District of California, San Francisco

 Case Name: I In re Application for E~empt:ion from Elec ticonic Public                                            I
                Access Fees by Jennifer Gollan and Shane Shif fl.e t t
 If District Court, docket entry number(s) of
                                              3
 order(s) appealed from:

 Name of party/parties submitting this form: !Jennifer Gollan, Shane Shifflett
                                                                                                                   I
Please briefly describe the dispute that gave rise to this lawsuit.
Applicants requested an exemption from the fees associated with Pacer access in order to conduct a research
project.




Briefly describe the result below and the main issues on appeal.
The court initially granted the exemption. However, it issued a subsequent order requesting further briefing and
then rescinded its earlier order granting the exemption. The appeal will address the proper interpretation of28 U.S.
C. § 1914 and the Judicial Conference Policy Notes regarding that statute.




Describe any proceedings remaining below or any related proceedings in other tribunals.
N/A




                                                    Page 1 of2
                Case: 12-16373, 06/20/2012, ID: 8221343, DktEntry: 2-1, Page 2 of 2



 Provide any other thoughts you would like to bring to the attention of the mediator.
 N/A




Any party may provide additional information in confidence directly to the Circuit Mediation Office at
ca09 mediation@ca9.uscourts.gov. Please provide the case name and Ninth Circuit case number in your
message. Addiiional information might include interest in including this case in the mediation program. the
case's settlement history, issues beyond the litigation thar the parties might address in a settlement conrext.
or thturc events that might affect the parties' willingness or ability to mediate the case.

CERTIFICATION OF COUNSEL
I certifY that:
    a current service list with telephone and fax numbers and email addresses is attached
 ~ (see 9th Circuit Rule 3-2).

  I understand that failure to provide the Court with a completed form and service list
~ may result in sanctions, including dismissal of the appeal.

Signature j;s/ Thomas R. Burke
("s/" plus attorney name may be used in lieu of a manual signature on electronically-filed documents.)

Counsel for !Appellants JENNIFER GOLLAN and SHANE SHIFFLETT

Note: Use of the Appellate ECF system is mandatory for all attorneys filing in this Court, unless they are
granted an exemption from using the system. To file this form electronically in Appellate ECF, complete
the form, and then print the filled-in form to PDF (File> Print> PDF Printer/Creator). Then log into
Appellate ECF and choose Forms/Notices/Disclosure> File a Mediation Questionnaire.




                                                  Page2of2
